Case: 4:11-cr-00246-CDP      Doc. #: 1103 Filed: 10/15/12     Page: 1 of 3 PageID #:
                                        5397



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )      Case No. 4:11CR246 CDP
                                       )
JAMES C. SMITH,(1)                     )
DOMINIC HENLEY(4),                     )
ANTHONY ROBINSON(11), and              )
JERRY ELKINS(12),                      )
                                       )
      Defendants.                      )

                                      ORDER

      This matter is before the Court on the above listed defendants’ motions to

suppress evidence obtained by the government through the use of court authorized

electronic surveillance. As with the other pretrial motions in this case, these

motions were referred to United States Magistrate Judge Frederick R. Buckles

under 28 U.S.C. § 636(b). Judge Buckles received briefs and heard evidence

related to the motions. He then filed his Report and Recommendation

recommending that the motions be denied. Each defendant has filed objections to

Judge Buckles’ recommended disposition.

      I have conducted a de novo review of the motions, including reviewing all

briefs, reading the transcript of the hearing, and reviewing the wiretap applications
Case: 4:11-cr-00246-CDP       Doc. #: 1103 Filed: 10/15/12       Page: 2 of 3 PageID #:
                                         5398



and orders. After doing so, I conclude that the interceptions were lawfully

authorized under the provisions of the statute, 18 U.S.C. § 2518. The applications

contained a sufficient basis for the issuing judge to conclude that the statutory

requirements were met, including the requirement of showing that other

investigative techniques either have been tried and failed or reasonably appear to

be unlikely to succeed.. Additionally, the evidence showed that the minimization

techniques used were appropriate. I will therefore adopt the factual findings, the

reasoning, and the legal conclusions reached by Judge Buckles.

      Defendants also argue that the location of the “listening post” in this judicial

district is not sufficient to confer jurisdiction for issuance of Title III orders over

phones not located in this jurisdiction. This is an issue of law that Judge Buckles

analyzed in detail. I have carefully reviewed the law relevant to this issue and

believe that Judge Buckles’ analysis was entirely correct, and so I will adopt it as

my own.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge [#1023] is SUSTAINED, ADOPTED, and

INCORPORATED herein.




                                          -2-
Case: 4:11-cr-00246-CDP    Doc. #: 1103 Filed: 10/15/12     Page: 3 of 3 PageID #:
                                      5399



      IT IS FURTHER ORDERED that defendants’ motions to suppress

evidence obtained through electronic surveillance [## 419, 435, 452, 518, and

628] are denied.



                                        ____________________________
                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE


Dated this 15th day of October, 2012.




                                         -3-
